         Case 1:19-md-02875-RMB-SAK                       Document 2792                Filed 07/31/24                Page 1 of 1 PageID:
2AO 154 (10/03) Substitution of Attorney                       104018

                                           UNITED STATES DISTRICT COURT
                                                                District of                                     NEW JERSEY


        WALTER L. SHUMPERT, JR., ET AL.                                      CONSENT ORDER GRANTING
                                              Plaintiff (s),                 SUBSTITUTION OF ATTORNEY
                             V.
         PRIME THERAPEUTICS, ET AL.                                          CASE NUMBER: 1:20-cv-15804-RBK-JS
                                            Defendant (s),

           Notice is hereby given that, subject to approval by the court, Prime Therapeutics                                               substitutes
                                                                                                          (Party (s) Name)

Andrew J. Heck                                                               , State Bar No. 011802012                          as counsel of record in
                            (Name of New Attorney)

place of         Bethany Beaver; Anna Maria Tejada                                                                                                       .
                                                          (Name of Attorney (s) Withdrawing Appearance)



Contact information for new counsel is as follows:
           Firm Name:                 Andrew J. Heck

           Address:                   7 Giralda Farms-Suites 100/101

           Telephone:                 (973) 735-6112                                 Facsimile (973) 624-0808
           E-Mail (Optional):         andrew.heck@wilsonelser.com


I consent to the above substitution.
Date:
                                                                                                               (Signature of Party (s))

I consent to being substituted.                                                        /s/ Anna Maria Tejada
Date:                          3/19/2024                                              /s/ Bethany Beaver
                                                                                                      (Signature of Former Attorney (s))

I consent to the above substitution.
Date:
                                                                                                            (Signature of New Attorney)



The substitution of attorney is hereby approved and so ORDERED.


Date:
                                                                                                                       Judge

[Note: A separate consent order of substitution must be filed by each new attorney wishing to enter an appearance.]
